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               UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF PENNSYLVANIA

                                          )     No. 1:22-MC-756
IN RE APPLICATION OF                      )
PENNLIVE, YORK DAILY                      )     (Judge Wilson)
RECORD, AND YORK DISPATCH                 )
TO UNSEAL COURT RECORDS                   )
                                          )

         REPLY BRIEF IN SUPPORT OF GOVERNMENT’S
         OBJECTIONS TO REPORT & RECOMMENDATION

     On January 19, 2024, Magistrate Judge Susan E. Schwab issued a

report and recommendation opining that the government should be

required to file, on the public docket in the first instance, redacted

versions of search warrant materials concerning a high-profile ongoing

investigation—in   which    individuals       whose   connection   with   the

investigation have previously been made public have been targeted,

harassed, and threatened. Although the report and recommendation

correctly recognized that compelling governmental interests support the

continued sealing of at least part of the materials at issue, it erred in

recommending that these compelling interests could be adequately

protected by redactions, and by defining the privacy interests that

necessitate sealing far too narrowly. See Report & Recommendation

(R&R), ECF No. 65.      The report and recommendation also erred in
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making the highly unusual recommendation that the government be

ordered to file its proposed redactions directly on the public docket—

without prior review or consideration by the Court. This procedure is

inappropriate because, among other things, it deprives the Court of its

ability to decide at the outset whether redacted documents should be filed

at all because the number of redactions required render the resulting

redacted documents devoid of content, nonsensical, or even misleading.

See United States v. Amodeo, 71 F.3d 1044, 1052–53 (2d Cir. 1995)

(district court abused its discretion by ordering release of document

“rendered unintelligible as a result of redactions” and “thus more likely

to mislead than to inform the public”).

     For the reasons set forth in the objections and the additional

reasons explained below, the Court should decline to adopt the

recommendations and should instead keep the materials that remain at

issue entirely under seal. At a minimum, if the Court believes it would

be helpful to consider proposed redactions, the Court should order the

government to file proposed redactions, along with any further

explanation of the bases for unsealing, ex parte and under seal for the

Court’s consideration as an initial matter.


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      In response to the government’s objections, Applicants do not

contest that compelling governmental interests in protecting an ongoing

investigation and preserving privacy exist here, see Objections 11–16,

ECF No. 68; that the report and recommendation sets forth an unduly

constrained view of the weighty privacy interests at issue, see id. at 12–

16; or that at least some redactions to the search warrant materials at

issue are warranted to protect compelling interests, see R&R 41–44.

Instead, they mischaracterize the government’s position as extreme,

argue that “blanket secrecy” is not necessary due to “information already

in the public domain,” and contend that the government’s arguments are

too “generic” to support “blanket secrecy.” Response 4, 13, ECF No. 69.

Applicants also maintain that—contrary to the practice of all but one

judge in one case in a single court—the government should be required

to file any proposed redactions publicly before the Court reviews those

proposed redactions or any nonpublic justifications supporting them. Id.

at 16–20. Their arguments in support misstate or simply fail to mention

the   government’s   stated   positions,   rely   on   assumptions     about

information that Applicants do not possess, and ignore the weight of case

law concerning applications to unseal search warrant materials. But


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even if the Court found these arguments at all persuasive—which it

should not—the only logical result would be to order the government to

provide proposed redactions and any additional explanations for those

redactions ex parte to test Applicants’ assertions—which are uninformed

due to the fact that Applicants do not have access to the search warrant

materials that properly remain sealed.

     1. As an initial matter, the Court should discount entirely all of

Applicants’    arguments      that       depend   on    hyperbole      and

mischaracterizations of the government’s positions.       As one glaring

example, Applicants overstate the government’s general stance on

disclosure in this matter, asserting that the government takes the

“extreme view that not a word of any of the records could be unsealed.”

Response 1. This is false. To the contrary, the government has agreed

to the unsealing of both entire and portions of documents here—including

parts of the search warrant as issued—where important governmental

and privacy interests no longer required continued sealing due to

changed circumstances. See ECF Nos. 57, 64-1. What is more, the

government’s briefs filed in this matter are public save minor redactions,

see ECF Nos. 37-2, 43, 44-1, 59, 60, 68, and Judge Schwab held a public


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hearing on the application. This is not “extraordinary secrecy” in any

sense, contra Response 3, but instead entirely consistent with the

government’s standard approach in such cases, and with the legal

standards that govern the common law right of access.

     The government’s position is likewise in line with the holdings of

countless courts. It is consistent with the approach that the Chief Judge

of the District of Columbia District Court took with respect to a search

warrant application involving the same investigation at issue here:

determining that certain materials could be unsealed after indictment,

but that the search warrant affidavit must remain entirely under seal.

See In re Press Application for Access to Judicial Records in Case No. 23-

SC-31 (In re Press Application), --- F. Supp. 3d ----, No. 23-mc-84, 2023

WL 8254630, at *5–7 (D.D.C. Nov. 29, 2023). And there are numerous

other cases, including two recent decisions within this Circuit, in which

courts properly found that compelling interests required search warrant

materials to remain entirely under seal. See, e.g., Martino v. United

States, No. 23-mc-11, 2024 WL 531658, at *5 (D.N.J. Feb. 9, 2024); In re

Search Warrants Issued Nov. 30, 2022, No. 22-mj-1897, 2023 WL

5593959, at *4 (E.D. Pa. Aug. 29, 2023); United States v. Sealed Search


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Warrants, 1999 WL 1455215, at *8 (D.N.J. Sept. 2, 1999); In re Search of

1993 Jeep Grand Cherokee, 1996 WL 768293, at *18 (D. Del. Oct. 11,

1996). Other courts have similarly recognized that it is proper for search

warrant materials to remain entirely under seal, even after indictment,

when a government investigation is ongoing.            See, e.g., United

States v. Pirk, 282 F. Supp. 3d 585, 602–03 (W.D.N.Y. 2017) (denying

motion for access to search warrant materials post-indictment where

investigation was ongoing); see also United States v. Cohen, 366

F. Supp. 3d 612, 623–24 (S.D.N.Y. 2019) (ordering parts of search

warrant materials pertaining to ongoing investigation to remain under

seal after indictment and plea). Applicants’ disingenuous attempt to

paint the government’s position in this case as an “extreme view” only

highlights their lack of substantive arguments.

     2. Applicants are incorrect insofar as they allege that because some

information about the underlying investigation has been made public, at

least portions of the search warrant materials that remain at issue

(including the search warrant affidavit) must be unsealed. This is wrong

for two principal reasons.    First, as the government has explained,

“information that may have been disclosed in public reporting or other


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contexts outside of a criminal investigation takes on a different meaning

if officially revealed to be part of such an investigation.” Objections 17,

ECF No. 68. In other words, official confirmation that an individual who

is reported to have taken part in certain events is under criminal

investigation for such conduct—or provided information to the

government in connection with a criminal probe—would undermine the

integrity of that investigation and the individual’s privacy interests. See

United States v. Smith (Smith I), 776 F.2d 1104, 1113–15 (3d Cir. 1985)

(recognizing that documents that have the imprimatur of “federal law

enforcement official[s]” carry weight that non-official statements do not).1

These are both compelling interests that outweigh the common law right

of access.


1 The out-of-context quote Applicants pull from a subsequent Third
Circuit decision does not undermine this point. Contra Response 8. It
simply states that when a person has “testified as a witness” in a criminal
trial, their “possible connection with the matter” has been made public.
United States v. Smith (Smith II), 787 F.2d 111, 116 (3d Cir. 1986). And
it is nonsensical to suggest that providing detailed descriptions of
uncharged individuals’ participation in unindicted conduct would lessen
the harmful effects of revealing possible subjects of an investigation.
Contra Response 8 n.5. The single case to which Applicants cite for this
proposition offers scant reasoning and in any event, involved a closed
investigation in which a defendant had already pleaded guilty. See
United States v. Kott, 380 F. Supp. 2d 1122, 1125 (C.D. Cal. 2004).

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     Second, contrary to Applicants’ suggestion, courts routinely find

that the government’s interest in the integrity of an investigation and

individual privacy overcome the common law right of access and require

sealing of search warrant materials in their entirety even where the

media has extensively reported on the underlying investigation—

including in connection with the same investigation at issue here. See

In re Press Application, 2023 WL 8254630, at *5; see also, e.g., In re

Associated Press, No. 22-mc-111, 2023 WL 5671289, at *1, *4–7

(S.D. Tex. Sept. 1, 2023) (denying application to unseal search warrant

materials although searches at issue “were widely reported by the news

media”);2 In re Application of WP Co., LLC, 201 F. Supp. 3d 109, 128

(D.D.C. 2016) (denying application to unseal search warrant materials

and finding redactions would not adequately protect compelling interests

“due to the degree of media scrutiny already garnered”).

     Indeed, even the revelation that an affidavit contains information

that has otherwise been officially disclosed could harm compelling


2 Applicants cite to an earlier order issued in In re Associated Press
requiring partial unsealing of the government’s briefs, but fail to
acknowledge that that court ultimately agreed with the government that
compelling interests required the search warrant materials to remain
entirely under seal. See Response 9.
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governmental interests by demonstrating the significance of that

information to the investigation.       See Objections 18.     Important

investigative and privacy interests counsel against disclosure of already

public information that, when placed in the context of a search warrant,

demonstrates why the government is seeking certain information or

where it received that information. Such disclosures tend to reveal the

direction and scope of an ongoing investigation, thereby alerting

potential additional subjects or targets, and could potentially jeopardize

previously unknown sources.       See In re Press Application, 2023

WL 8254630, at *5–6.

     What is more, even if certain already public facts could be disclosed

without revealing a connection to the investigation that would

compromise compelling governmental interests, that information cannot

be unsealed if it is inextricably intertwined with information that must

remain secret, or if information that must remain secret is so extensive

that any resulting redacted document would be unintelligible,

nonsensical, or even misleading. See Objections 18–20. That is the case

here. Applicants complain that this argument is “circular,” Response 10,

but that argument stems from the fact that Applicants are not privy to


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the underlying sealed materials. The Court does have access to these

materials, however, and can discern through a review of the “unruly mix

of secret and public facts” that redactions are not an available alternative

to continued sealing. See In re Press Application, 2023 WL 8254630,

at *5.     The government recognizes that Judge Schwab reviewed the

sealed materials prior to issuing the report and recommendation, but

respectfully contends that the ultimate recommendation as to unsealing

was based on an erroneously constrained understanding of the

compelling privacy interests at issue here.3 Objections 12–16. Viewed

through an appropriate lens, the proper conclusion is that redactions

required to preserve compelling governmental interests are too extensive

for any resulting redacted document to make sense. If the Court has any

doubts, the only reasonable next step is to review the government’s

proposed redactions ex parte and under seal.




3 Judge Schwab also incorrectly discounted the legitimate governmental

interest in declining to publicly confirm details about investigative
methods that the recipient of a search warrant—Representative Scott
Perry—selectively chose to disclose in a court filing. See R&R 55.
Applicants elide this point by referring to Rep. Perry’s disclosure as a
“public court record.” Response 13.
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     3. The government’s points in support of continued sealing are not

too generic, as Applicants contend. At the outset, Applicants ignore that

Judge Schwab found the interests the government identified in

maintaining the integrity of an ongoing investigation sufficiently

compelling to overcome the common law right of access, at least as to

parts of the disputed materials. See R&R 38–42. Moreover, Applicants

do not engage with the specific risk of actual harm set forth in the

objections to explain why the privacy interests of potential witnesses and

unindicted individuals require particular safeguarding in this matter.

Objections 14–16. Instead, it is Applicants’ arguments that are generic

and boilerplate. And again, if the Court believes that it needs more

specific information about why the remaining search warrant materials

must remain under seal, the most it should do is order the government

to file ex parte proposed redactions. Review of these redactions and any

accompanying explanations will dispel any lingering doubts the Court

might have about the correct outcome here.

     4. If the Court ultimately concludes that the government should

propose redactions, it should follow the normal course and review those

redactions ex parte and under seal in the first instance. Determining


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whether search warrant materials must remain under seal is left to “the

sound discretion of the trial court,” and ex parte review of proposed

redactions allows courts to exercise that discretion to determine whether

unsealing is appropriate. See In re Search Warrants Issued November

30, 2022, 2023 WL 5593959, at *2 (quoting In re Search of Fair Finance,

692 F.3d 424, 431 (6th Cir. 2012)). In contrast, the direct public filing of

proposed redactions circumvents the Court’s authority to consider those

proposals. Reviewing proposed redactions ex parte, on the other hand,

permits the Court to consider the government’s positions regarding

sealing in a concrete context, while preserving the government’s ability

to appeal should it wish to challenge any finding that redactions are

appropriate. That right that would be lost if proposed redactions were

filed on the public record in the first instance.

     Applicants do not engage with these concerns or with the fact that

their requested procedure—direct filing of redactions on the public

docket—is nearly unprecedented and, to the government’s knowledge,

has only been adopted by one court in a single unique case.             The

government, however, has pointed to multiple cases in which courts

reviewed proposed redactions ex parte and under seal before deciding


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whether to unseal—as Judge Schwab has already done in this matter on

multiple occasions. Objections 22. These examples are surely the tip of

an iceberg, and make sense for the reasons explained above and in the

objections.

     Nor are Applicants correct that due process somehow requires the

government to file proposed redactions on the public docket before the

Court reviews them.      Contra Response 17–18.       It is unserious for

Applicants to suggest that they have not had ample opportunity to

respond to the government’s arguments in this matter; they have had

access to at most minimally redacted versions of the government’s briefs,

filed at least five substantive briefs themselves, and presented oral

argument on the application. In addition, Applicants would be free to

challenge any redactions the Court might, after ex parte review, order to

be filed on the public docket.     Of course, it remains the case that

Applicants would have little to offer in that challenge given their lack of

knowledge about what underlies the redactions, but that is a natural and




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proper result of the fact that compelling interests overcome the common

law right in appropriate instances.4

     In sum, for the reasons set forth in the objections and in this reply,

the Court should order the search warrant application, including the

affidavit; the return; and the redacted portions of the search warrant as

issued to remain entirely under seal at this time. In the alternative, at

most, the Court should order the government to file proposed redactions

to these documents ex parte and under seal for the Court to consider in

the first instance whether redacted versions should be released. If the

Court is inclined to order the government to propose redactions ex parte


4 Applicants’ assertion that they “were required to bring to the Court’s

attention that the Government had attempted to conceal material that
appeared ‘word-for-word’ in other judicial records” is baffling.
Response 19. Judge Schwab indicated neither that Applicants had
brought this information to her attention nor that the government had
attempted to keep it from her; instead, the report and recommendation
attributes the information to a public filing that the government both
cited and quoted in its first filing in this case. R&R 55; see also ECF
No. 44-1 at 6. What is more, Judge Schwab released the redacted search
warrant and the report and recommendation on the same day. It is not
possible that Applicants somehow—without the government’s
knowledge—alerted Judge Schwab to what information was beneath the
redactions in a document they were seeing for the first time, in advance
of a report and recommendation issued minutes later. Yet Applicants not
only suggest that this occurred, but point to it as a reason to adopt their
preferred procedure for filing proposed redactions. The Court should
reject this argument as, at best, mistaken.
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and under seal, the government respectfully requests 30 days from the

issuance of any such order to submit its proposal.

Dated: March 1, 2024
                                 Respectfully submitted,

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